      Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 1 of 26




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


ROBENSON JEAN-PIERRE, JEAN
METELUS, BILL MCKEE and MICHAEL
GARY FAUNTLEROY, on behalf of
themselves and all others similarly situated,
                                                Docket No. 1:18-cv-11499-MLW
                       Plaintiffs,

v.

J&L CABLE TV SERVICES, INC.,

                       Defendant.


            PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
          MOTION FOR APPROVAL OF ATTORNEYS’ FEES AND COSTS
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 2 of 26




                                               TABLE OF CONTENTS

I.     INTRODUCTION .............................................................................................................. 1
II.    OVERVIEW OF CLASS COUNSEL’S WORK ON THE ACTION ................................ 2
       A.        Case Initiation ......................................................................................................... 3
       B.        Conditional Certification ........................................................................................ 4
       C.        Initial Discovery...................................................................................................... 5
       D.        Mediation and Amendment of Complaint .............................................................. 6
       E.        Continued Litigation ............................................................................................... 7
       F.        Settlement ............................................................................................................... 8
       G.        Preliminary Approval.............................................................................................. 8
III.   ARGUMENT .................................................................................................................... 10
       A.        District Courts in the First Circuit Routinely Approve One-Third Fee Awards... 10
       B.        The Result Achieved, and the Effort, Skill, and Risk Involved, Favor a One-Third
                 Fee Award ............................................................................................................. 11
                 1.         The significant settlement fund benefits hundreds of workers. ................ 12
                 2.         No Class Members have objected. ............................................................ 13
                 3.         The action was prosecuted by skilled, experienced, efficient counsel. .... 13
                 4.         The action is complex and extended through several years of litigation,
                            with significant risk of non-payment. ....................................................... 14
                 5.         Class Counsel have devoted thousands of hours to this case.................... 15
                 6.         Courts routinely award one-third fee awards in wage and hour class action
                            settlements................................................................................................. 15
                 7.         Public policy supports the requested fee award. ....................................... 17
       C.        A Lodestar Cross-Check Confirms that a One-Third Fee Is Reasonable ............. 17
       D.        Class Counsel’s Costs Should Be Approved ........................................................ 18
IV.    CONCLUSION ................................................................................................................. 20




                                                                   i
           Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 3 of 26




                                                  TABLE OF AUTHORITIES

Federal Cases
Ark. Teacher Ret. Sys. v. State St. Bank & Tr. Co., No. 11-10230-MLW, 2020 U.S. Dist. LEXIS
  33552 (D. Mass. Feb. 27, 2020).................................................................................... 11, 12, 18
Bacchi v. Mass. Mut. Life Ins. Co., No. 12-11280-DJC, 2017 U.S. Dist. LEXIS 184926 (D. Mass.
  Nov. 8, 2017) ...................................................................................................................... 11, 19
Bennett v. Roark Capital Grp., Inc., No. 2:09-cv-00421-GZS, 2011 U.S. Dist. LEXIS 48094 (D.
  Me. May 4, 2011)...................................................................................................................... 16
Bettencourt v. Jeanne D'Arc Credit Union, No. 17-cv-12548-NMG, 2020 U.S. Dist. LEXIS
  106469 (D. Mass. June 17, 2020) ............................................................................................. 11
Camden I Condo. Ass'n v. Dunkle, 946 F.2d 768 (11th Cir. 1991) .............................................. 10
Curtis v. Scholarship Storage Inc., No. 2:14-cv-303-NT, 2016 U.S. Dist. LEXIS 70410 (D. Me.
  May 31, 2016) ..................................................................................................................... 11, 15
Harden Mfg. v. Pfizer, Inc (In re Neurontin Mktg. & Sales Practices Litig.), 58 F. Supp. 3d 167
  (D. Mass. 2014)......................................................................................................................... 12
Heien v. Archstone, 837 F.3d 97 (1st Cir. 2016) .......................................................................... 10
In re Cont'l Ill. Sec. Litig., 962 F.2d 566 (7th Cir. 1992) ............................................................. 10
In re Loestrin 24 Fe Antitrust Litig., No. MDL No. 2472, 2020 U.S. Dist. LEXIS 125746 (D.R.I.
   July 17, 2020)............................................................................................................................ 16
In re Omnivision Techs., 559 F. Supp. 2d 1036 (N.D. Cal. 2007) ................................................ 19
In re Thirteen Appeals Arising Out of San Juan Dupont Plaza Hotel Fire Litig., 56 F.3d 295 (1st
   Cir.1995) ................................................................................................................................... 10
Kondash v. Citizens Bank, No. 18-cv-00288-WES-LDA, 2020 U.S. Dist. LEXIS 241588 (D.R.I.
  Dec. 23, 2020) ........................................................................................................................... 16
O'Connor v. Oakhurst Dairy, No. 2:14-00192-NT, 2018 U.S. Dist. LEXIS 102244 (D. Me. June
  19, 2018) ....................................................................................................................... 10, 15, 18
Reiter v. Sonotone Corp., 442 U.S. 330 (1979) ............................................................................ 17
Roberts v. TJX Cos., No. 13-cv-13142-ADB, 2016 U.S. Dist. LEXIS 136987 (D. Mass. Sep. 30,
  2016) ................................................................................................................................... 11, 15
Romero v. Producers Dairy Foods, Inc., No. 1:05cv0484 DLB, 2007 U.S. Dist. LEXIS 86270
  (E.D. Cal. Nov. 13, 2007) ......................................................................................................... 16
Scovil v. FedEx Ground Package Sys., No. 1:10-CV-515-DBH, 2014 U.S. Dist. LEXIS 33361
  (D. Me. Mar. 14, 2014) ............................................................................................................. 16
Soto, et al. v. O.C. Communications, Inc., et al., Case No. 3:17-cv-00251-VC, ECF 304 (N.D.
  Cal. Oct. 23, 2019) .................................................................................................................... 16
Swedish Hosp. Corp. v. Shalala, 303 U.S. App. D.C. 94, 1 F.3d 1261 (1993) ............................ 10

                                                                        ii
            Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 4 of 26




Veilleux v. Maine, No. 1:16-cv-571-LEW, 2020 U.S. Dist. LEXIS 210895 (D. Me. Nov. 9,
  2020) ......................................................................................................................................... 19
Vizcaino v. Microsoft Corp., 290 F.3d 1043 (9th Cir. 2002) ........................................................ 18
Zamora v. Lyft, Inc., No. 3:16-cv-02558-VC, 2018 U.S. Dist. LEXIS 166618, (N.D. Cal. Sep. 26,
  2018) ......................................................................................................................................... 18
Statutes and Rules
29 U.S.C. § 216(b) .................................................................................................................... 4, 18
29 U.S.C.A. § 207(i) ....................................................................................................................... 7
Mass. Ann. Laws ch. 149, § 150 ................................................................................................... 18
Fed. R. Civ. P. 23 ...................................................................................................................... 1, 18
Other Authority
Newberg on Class Actions § 14.6 (4th ed. 2007).......................................................................... 16




                                                                        iii
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 5 of 26




             I.       INTRODUCTION

       Plaintiffs Robenson Jean-Pierre, Jean Metelus, Bill McKee, and Michael Gary Fauntleroy

(“Plaintiffs”), and their attorneys, Berger Montague PC (“BM”), Schneider Wallace Cottrell

Konecky LLP (“SWCK”), and Lichten & Liss-Riordan, P.C. (together, “Class Counsel”),

respectfully submit this application for an award of attorneys’ fees and costs to compensate them

for their extensive work over the past three years in achieving an excellent $1,850,000 collective

and class action settlement on behalf of current and former cable technicians (“Technicians”) for

Defendant J&L Cable TV Services, Inc. (“Defendant” or “J&L”). The $616,667 fee that Class

Counsel request – one third of the $1,850,000 Gross Settlement Amount – represents less than

Class Counsel’s current aggregate lodestar.

       On May 10, 2021, the Court granted preliminary approval of the Settlement1 of this wage

and hour, hybrid collective and class action under the Fair Labor Standards Act (“FLSA”) and

Rule 23 of the Federal Rules of Civil Procedure. See ECF No. 137 (“Preliminary Approval Order”).

The Settlement provides excellent monetary payments for the Collective Members and Settlement

Class Members.2 The overall average net recovery stands at approximately $1,770 for each

Technician.3 This exceptional result only came after multiple years of hard-fought litigation,

including considerable motion practice, conditional certification of the Collective, extensive

document and written discovery, and intensive mediation and arms’ length negotiations with the

assistance of a respected wage and hour mediator.



1
  The “Settlement” or “Settlement Agreement” refers to the Class and Collective Action Settlement
Agreement and Release, filed at ECF No. 121-1.
2
  Plaintiffs, Collective Members, and Settlement Class Members are sometimes referred to
hereafter as “Class Members” or “Technicians” for ease of reading.
3
  This overall figures divides the Net Settlement Amount by the number of Collective Members
and Settlement Class Members, and thereby does not factor in the amount of workweeks for each
Technician.
                                                1
        Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 6 of 26




       Class Counsel achieved this Settlement through effort and skill in the face of substantial

risk. The risk that class certification would not be granted, or that a decertification motion would

be granted, was considerable. The Technicians are dispersed in the field, working at different

locations across the eastern United States. Establishing that such workers are similarly situated

with respect to off-the-clock claims would have imposed significant hurdles. Though Plaintiffs

and Class Counsel are confident that they would have obtained certification and defeated any

decertification motions, they faced further risk in prosecuting the claims on the merits. The Court

recognized the significant risk that “the class might have received no recovery if this case

proceeded to trial.” Preliminary Approval Order, p. 9. The requested fee award is warranted by

Class Counsel’s persistence and skill in obtaining an excellent settlement in the face of these

considerable risks.

       A one-third fee award is within the typical range of attorneys’ fees awarded in this Circuit.

Class Counsel’s aggregate lodestar, representing a negative multiplier of the requested fee, further

underscores that Class Counsel seek reasonable compensation for the exceptional Settlement that

they have achieved. Plaintiffs additionally seek reimbursement of $44,191.25 in costs, which the

Court should approve as reasonable and necessary to reach this result for the Collective Members

and Settlement Class Members.

       For these reasons, and as set forth hereinafter, Plaintiffs respectfully request that the Court

grant the requested approvals.

            II.        OVERVIEW OF CLASS COUNSEL’S WORK ON THE ACTION

       In three years of litigation, Class Counsel has devoted over 3,100 hours to the prosecution




                                                 2
        Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 7 of 26




of the action, with a total aggregate lodestar amount of over $1,749,000.4 See Declaration of

Carolyn Hunt Cottrell (“Cottrell Decl.), ¶ 11; Declaration of Alexandra K. Piazza (“Piazza Decl.”),

¶ 14; Declaration of Sarah R. Schalman-Bergen (“Schalman-Bergen Decl.”), ¶ 13. Class Counsel

vigorously litigated the action while also demonstrating willingness to participate in good-faith

attempts to settle the action. Class Counsel’s efforts culminated in the Settlement, which provides

significant monetary benefits for the Technicians.

               A.      Case Initiation

       Class Counsel completed an initial investigation of the factual background and claims prior

to the filing of initial pleadings. Cottrell Decl., ¶ 12; Piazza Decl., ¶¶ 19, 21. This included

extensive communications with both Plaintiffs Jean Pierre and Metelus, review and analysis of

prior litigation, and an analysis of Defendant, its operations, and business model. Id. Class Counsel

drafted a Wage Complaint on behalf of Plaintiff Metelus to the Commonwealth of Massachusetts

Office of the Attorney General, and obtained confirmation from that Offices’ Fair Labor Division

that Plaintiff could pursue a private wage action under Massachusetts law. Cottrell Decl., ¶ 13.

Class Counsel filed the initial Collective and Class Action Complaint on July 18, 2018, which

asserted wage and hour claims under the FLSA on behalf a proposed collective and under

Massachusetts state law on behalf of a proposed Massachusetts Rule 23 class. Cottrell Decl., ¶ 14;

ECF No. 1.

       Plaintiffs began filing FLSA opt-in consent forms on August 2, 2018. See ECF Nos. 4, 5.

During this initial period, Plaintiffs filed pro hac vice motions and completed service of process

(see ECF Nos. 6-9, 12, 17), and continued filing FLSA opt-in consent forms as additional



4
 These figures represent aggregate amounts, comprised of over 2,467 hours for a lodestar amount
of $1,313,987 for BM, over 630 hours for a lodestar amount of $412,943 for SWCK, and over 43
hours for a lodestar amount of $22,444 for Lichten & Liss-Riordan, P.C.
                                                 3
        Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 8 of 26




Technicians elected to join the action (see, e.g., ECF Nos. 18, 20, 23, 24).

               B.      Conditional Certification

       Plaintiffs brought their Motion for Conditional Certification and to Facilitate Notice under

29 U.S.C. § 216(b) on December 6, 2018, seeking conditional certification for the proposed FLSA

Collective and to effectuate notice to the Technicians about the action and their ability to opt in.

ECF No. 26. The motion was supported by declarations of Plaintiffs Jean Pierre and Metelus an

additional opt-in Plaintiffs. See ECF No. 27. The motion provided extensive analysis of the work

and job functions of Technicians and the complex compensation system utilized by Defendant to

determine their pay. See ECF No. 27, pp. 3-8.

       The Parties completed briefing and argued the conditional certification motion on

September 10, 2019. See ECF Nos. 48, 51-53, 55. At the oral argument, Judge Kelley requested

further briefing and evidence regarding Defendant’s alleged common policies and practices that

gave rise to the unpaid wages. See ECF No. 55. Plaintiff thereafter filed supplemental briefing,

supported by in-depth declarations from Technicians, showing that the workers are similarly

situated and subject to common policies and practices that denied them wages owed under the

FLSA. See ECF No. 58. The Court then granted the motion for conditional certification on October

7, 2019. ECF No. 59.

       Class Counsel then conferred with Defendant’s Counsel regarding the form and method of

FLSA notice to the Technicians, pursuant to the Court’s directions. See ECF No. 61; Cottrell Decl.,

¶ 18. The Parties agreed on a robust notice protocol that provided for dissemination of notice via

U.S. Mail, email, and text message, along with a notice website and posting of the notice at each

of Defendant’s job sites. Id. The Court approved the notice protocol and forms of notice on October

16, 2019. See ECF No. 62.



                                                 4
        Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 9 of 26




       Class Counsel worked with the FLSA notice administrator, Angeion Group, and

Defendant’s Counsel to complete the dissemination of the notice. Cottrell Decl., ¶ 19.

Approximately 218 Technicians ultimately opted into the action; Class Counsel duly filed the opt-

in forms with the Court. See, e.g., ECF No. 98. Class Counsel also engaged in significant outreach

with Collective Members to support the prosecution of their claims. Cottrell Decl., ¶ 19; Piazza

Decl., ¶¶ 22, 24.

               C.      Initial Discovery

       Plaintiffs served requests for production of documents and interrogatories on August 8,

2019, which sought extensive documents and information pertaining to Plaintiffs and putative

Collective and Class Members. Cottrell Decl., ¶ 20. Defendant served initial responses on

September 23, 2019. Id. The Parties thereafter engaged in significant written and telephonic meet

and confer, resulting in Defendant serving supplemental responses and productions in January and

February 2020. Id., ¶ 21. Defendant formally produced over 15,000 pages of documents, including

but not limited to payroll and timekeeping documents, policies, handbooks, and various contracts.

Id., ¶ 22. Class Counsel engaged in considerable document review of these extensive materials.

Id.

       Defendant served requests for production of documents and interrogatories on Plaintiffs

Robenson and Metelus on October 16, 2019. Id., ¶ 23. Class Counsel worked closely with Plaintiffs

Robenson and Metelus to prepare responses and compile relevant documents, and served formal

responses on November 25, 2019 and November 26, 2019, respectively. Cottrell Decl., ¶¶ 23.

Discovery practice continued through the litigation of this action until the Settlement was reached.

Cottrell Decl., ¶ 24; Piazza Decl., ¶¶ 22-24, 26.




                                                    5
         Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 10 of 26




                D.      Mediation and Amendment of Complaint

         Following the conclusion of the opt-in period, the Parties began discussions regarding

potential mediation of the action. Cottrell Decl., ¶ 25. The Parties ultimately agreed to a mediation

session with experienced mediator Mark Irvings, set for May 5, 2020, in Boston. Id. The Parties

further conferred regarding the scope of discovery necessary for a productive mediation session,

and regarding Plaintiffs’ intention to amend their complaint to add additional Named Plaintiffs and

Rule 23 classes under laws of additional states. Id., ¶ 26.

         The Court stayed all deadlines in anticipation of the mediation and granted Plaintiffs leave

to file the First Amended Collective and Class Action Complaint (“FAC”), which Plaintiffs filed

on February 28, 2020. See ECF Nos. 85, 91. The operative FAC adds Plaintiffs McKee and

Fauntleroy, with Plaintiff McKee representing putative Maine and New Hampshire classes and

Plaintiff Fauntleroy representing a putative Pennsylvania class. See ECF No. 91.

         Class Counsel engaged in extensive analysis of the relevant law as well as Defendant’s

policies and practices ahead of the mediation. Cottrell Decl., ¶ 28; Piazza Decl., ¶¶ 19. Defendant

produced additional documents in April 2020 to support the mediation. Cottrell Decl., ¶ 29. Class

Counsel analyzed and evaluated the merits of the claims made against Defendant in this action,

conducted interviews with Plaintiffs and the Opt-In Plaintiffs, reviewed documents that Defendant

had produced during the course of discovery relating to J&L’s compensation policies and

practices, and analyzed payroll data. Cottrell Decl., ¶ 30; Piazza Decl., ¶ 19. Prior to the mediation,

Plaintiffs prepared a detailed mediation statement and performed calculations of potential damages

based on the extensive pay data provided by Defendant. Cottrell Decl., ¶ 31; Piazza Decl., ¶¶ 22,

24-25.

         On May 5, 2020, the Parties participated in a full-day remote mediation session with Mr.



                                                  6
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 11 of 26




Irvings, a respected and experienced wage and hour mediator. Cottrell Decl., ¶ 32; Piazza Decl., ¶

19. Class Counsel adeptly argued the Class and Collective claims at mediation and engaged in

subsequent negotiations through the mediator. Id. Despite these efforts, the Parties were unable to

reach an agreement during or immediately after the May 5, 2020 mediation. Cottrell Decl., ¶ 33.

               E.     Continued Litigation

       After the mediation, the Parties proceeded with vigorous litigation. On May 22, 2020,

Defendant filed a motion to amend its answer to Plaintiffs’ FAC to include a defense that the

Technicians were exempt from overtime under the FLSA pursuant to the retail exemption set out

in 29 U.S.C.A. § 207(i), and exempt from overtime under Pennsylvania and New Hampshire wage

laws pursuant to comparable exemptions under those states’ laws. See ECF No. 100. Class Counsel

drafted their successful opposition to this motion, filed on June 5, 2020. ECF No. 104. Following

oral argument, Judge Kelley denied Defendant’s motion to amend. See ECF No. 105. On June 24,

2020, Defendant filed objections to the Magistrate’s Order denying its motion to amend and Class

Counsel drafted another significant brief to oppose Defendant’s objections, filed on July 8, 2020.

See ECF Nos. 107, 109.

       During this period, Class Counsel continued to actively conduct pre-trial discovery.

Cottrell Decl., ¶ 35. Plaintiffs noticed depositions and, after conferring, agreed to take the

depositions of two Rule 30(b)(6) witnesses, which were set for August 27 and 28, 2020. Id.

Pursuant to Class Counsel’s meet and confer efforts, Defendant also made supplemental document

productions of thousands of additional documents in July and August 2020. Id.

       On July 24, 2020, Defendant served written discovery requests on 52 opt-in Plaintiffs, as

well as Plaintiffs McKee and Fauntleroy. Cottrell Decl., ¶ 36. Defendant’s Counsel also requested

deposition dates for the four Named Plaintiff as well as 13 opt-in Plaintiffs. Id. Class Counsel



                                                7
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 12 of 26




immediately began working with these Technicians and engaged in intensive efforts to gather

information and documents and prepare responses. Id., ¶ 37. With virtually all of this work

completed, the Parties agreed to continue the responses on the basis of the agreement to settle the

action in its entirety, just before the response deadline. Id.

                F.      Settlement

        Following the mediation, the Parties continued to discuss informal resolution of this matter,

and the case settled on August 26, 2020 with the assistance of the mediator. Cottrell Decl., ¶ 38.

The Parties memorialized their agreement in principle in a binding Memorandum of

Understanding (“MOU”) on August 28, 2020. Id.; see ECF 131-1 at pp. 54-57. Pursuant to the

agreement to settle, the Parties requested that the Court hold in abeyance any ruling on Defendant’s

objections to the Magistrate’s order and stay all case deadlines. See ECF Nos. 115, 116.

        The Parties then negotiated and drafted the long-form Settlement Agreement. Cottrell

Decl., ¶ 39; Piazza Decl., ¶¶ 19-20. The Settlement Agreement is detailed and complex, as it

resolves a hybrid FLSA collective and Rule 23 action with four state law classes and workweek

weightings to account for differences in state laws. Id. Class Counsel spent significant time

communicating with the potential settlement administrators to obtain accurate administration

estimates. See Piazza Decl., ¶¶ 17, 22. The drafting process involved several rounds of edits and a

separate drafting process for the settlement notice. Cottrell Decl., ¶ 39. The Parties executed the

finalized Settlement on October 14, 2020. Id., ¶ 40.

                G.      Preliminary Approval

        Class Counsel then drafted the preliminary approval motion and supporting papers, filed

with the Court on October 14, 2020. See ECF Nos. 120-121; Cottrell Decl., ¶ 41. On February 2,

2021, the Court ordered the four Named Plaintiffs to attend the hearing and be prepared to discuss



                                                   8
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 13 of 26




their attorneys’ fee agreements. See ECF No. 124. Class Counsel argued the preliminary approval

motion, and the Plaintiffs appeared, on February 3, 2021. See ECF No. 125. At the hearing and in

its accompanying Memorandum and Order, the Court ordered Plaintiffs to file supplemental

briefing concerning whether the Court has supplemental jurisdiction over the state law claims, the

adequacy of the proposed class representatives, and how Class Counsel calculated their damages

estimate. See ECF No. 126.

       Class Counsel filed the supplemental briefing along with other documents requested by the

Court on February 16, 2021. See ECF No. 131; Cottrell Decl., ¶¶ 43, 64. As part of this

considerable submission, Class Counsel proffered redacted versions of the retainer agreements,

declarations from each of the four Named Plaintiffs, and an updated form of settlement notice. See

id. Class Counsel filed an accompanying motion for leave for the retainer agreements to be filed

under seal. ECF No. 130.

       Upon considering the supplemental submission, the Court granted preliminary approval on

May 10, 2021. ECF No. 137. The Court scheduled the Final Approval Hearing for August 31,

2021. Id. Class Counsel worked with the Court-appointed settlement administrator, Angeion

Group, to disseminate the settlement notice and establish the settlement website pursuant to the

Settlement and the Court’s Preliminary Approval Order. Cottrell Decl., ¶ 41; Piazza Decl., ¶¶ 17,

21-22, 24.

       Final approval papers are due on August 18, 2021. See ECF No. 137. In the coming weeks,

Class Counsel will prepare the final approval motion and supporting papers, continue to oversee

the settlement notice process, oversee the disbursement of settlement funds, and handle inquiries

from Technicians regarding the action and the Settlement. Cottrell Decl., ¶ 45; see also Piazza

Decl., ¶¶ 17, 21-22, 24.



                                                9
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 14 of 26




            III.       ARGUMENT

               A.      District Courts in the First Circuit Routinely Approve One-Third Fee
                       Awards

       In a class action settlement, the court may award reasonable attorneys’ fees and nontaxable

costs that are authorized by law or by the parties’ agreement. Fed. R. Civ. P. 23(h). The First

Circuit recognizes two general methods for awarding attorneys' fees in class actions: (1) the

“percentage of fund” (“POF”) method; and (2) the “lodestar” method. In re Thirteen Appeals

Arising Out of San Juan Dupont Plaza Hotel Fire Litig., 56 F.3d 295, 307 (1st Cir.1995); see also

Heien v. Archstone, 837 F.3d 97, 100 (1st Cir. 2016). The First Circuit has endorsed the POF

method as the preferred approach in complex litigation. In re Thirteen Appeals, 56 F.3d at 307;

Heien, 837 F.3d at 100 (POF method is “prevailing praxis”); O'Connor v. Oakhurst Dairy, No.

2:14-00192-NT, 2018 U.S. Dist. LEXIS 102244, at *10 (D. Me. June 19, 2018) (“The First Circuit

has approved of the POF method as the prevailing approach used in common fund cases.”).

       Courts have the power to award reasonable attorneys’ fees and costs where, as here, a

litigant proceeding in a representative capacity secures a substantial benefit for a class of persons.

“The POF method permits the judge to focus on ‘a showing that the fund conferring a benefit on

the class resulted from’ the lawyers’ efforts.” In re Thirteen Appeals, 56 F.3d at 307 (quoting

Camden I Condo. Ass'n v. Dunkle, 946 F.2d 768, 774 (11th Cir. 1991). The POF method is more

efficient for courts to administer, and also encourages efficient litigation by plaintiffs’ attorneys.

Id. (citing Swedish Hosp. Corp. v. Shalala, 303 U.S. App. D.C. 94, 1 F.3d 1261, 1269 (1993)).

The First Circuit additionally found that the POF approach “better approximates the workings of

the marketplace.” Id. (citing In re Cont'l Ill. Sec. Litig., 962 F.2d 566, 572 (7th Cir. 1992)).

       Where the court utilizes a percentage-of-funds approach to assessment of attorney fees, a

lodestar analysis is not required. Curtis v. Scholarship Storage Inc., No. 2:14-cv-303-NT, 2016

                                                  10
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 15 of 26




U.S. Dist. LEXIS 70410, at *10-11 (D. Me. May 31, 2016). However, the “court may also, in its

discretion, consider a ‘lodestar cross check’ to gauge the reasonableness of any percentage of fund

award.” Bacchi v. Mass. Mut. Life Ins. Co., No. 12-11280-DJC, 2017 U.S. Dist. LEXIS 184926,

at *10 (D. Mass. Nov. 8, 2017).

        District Courts in the First Circuit routinely approve one-third fee awards in settled wage

and hour class actions. See, e.g., Roberts v. TJX Cos., No. 13-cv-13142-ADB, 2016 U.S. Dist.

LEXIS 136987, at *45 (D. Mass. Sep. 30, 2016). A one-third award is in accord with, albeit slightly

higher than, the “20 to 30% range” that this Court has identified as frequently appropriate in settled

class actions. Ark. Teacher Ret. Sys. v. State St. Bank & Tr. Co., No. 11-10230-MLW, 2020 U.S.

Dist. LEXIS 33552, at *10 (D. Mass. Feb. 27, 2020) (Wolf, J.); see also Bettencourt v. Jeanne

D'Arc Credit Union, No. 17-cv-12548-NMG, 2020 U.S. Dist. LEXIS 106469, at *4 (D. Mass. June

17, 2020) (“Standard awards in the First Circuit range from 20% at the low end to 33% at the high

end.”). However, “[t]he district court may adjust the benchmark when special circumstances

indicate a higher or lower percentage would be appropriate.” Ark. Teacher Ret. Sys., 2020 U.S.

Dist. LEXIS 33552, at *44 (internal quotation and citation omitted). These special circumstances

exist here.

               B.      The Result Achieved, and the Effort, Skill, and Risk Involved, Favor a
                       One-Third Fee Award

        In determining the reasonableness of a POF fee award, this Court and other district courts

in this Circuit have considered factors including (1) the size of the fund created and the number of

persons benefitted; (2) the presence or absence of substantial objections by members of the class

to the settlement terms and/or fees requested by counsel; (3) the skill and efficiency of the attorneys

involved; (4) the complexity and duration of the litigation; (5) the risk of nonpayment; (6) the

amount of time devoted to the case by plaintiffs' counsel; (7) the awards in similar cases; and (8)

                                                  11
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 16 of 26




public policy. Ark. Teacher Ret. Sys., 2020 U.S. Dist. LEXIS 33552, at *44; Roberts, 2016 U.S.

Dist. LEXIS 136987, at *34; Harden Mfg. v. Pfizer, Inc (In re Neurontin Mktg. & Sales Practices

Litig.), 58 F. Supp. 3d 167, 170 (D. Mass. 2014). Each of these factors weighs in favor of a one-

third fee award.

                      1.      The significant settlement fund benefits hundreds of workers.

       First, Class Counsel has obtained a significant settlement fund that will provide real

benefits to hundreds of workers. The $1,850,000 settlement amount will provide excellent

monetary payments for approximately 630 Collective Members and Settlement Class Members.5

Cottrell Decl., ¶ 47. The overall average net recovery stands at approximately $1,770 for each

Technician. Id. Technicians with longer tenures will receive relatively higher payments, as the

settlement awards are based on the number of workweeks for each Technician. See Settlement

(ECF No. 121-1), ¶ 2.3. The considerable payments to hundreds of Technicians counsel in favor

of the requested fee award.

       Additionally, this is not such a large class action recovery that the POF award must be

lowered “to avoid giving attorneys a windfall at the plaintiffs’ expense.” In re Neurontin Mktg. &

Sales Practices Litig., 58 F. Supp. 3d at 170. As discussed infra, Class Counsel are not receiving

a windfall here as their lodestar far exceeds the requested fee. This is not a megafund settlement,




5
  In the preliminary approval papers, Plaintiffs reported that there were approximately 545
Collective and Settlement Class Members, resulting in an overall average net recovery of over
$2,000 per each Technician. See ECF No. 131, p. 11. This number of Collective and Class
Members was memorialized in the Settlement (ECF No. 121-1) at ¶ 1.7 (“The total number of
Settlement Class and Collective Members is approximately 545”). The finalized Class Member
information provided by Defendant for settlement administration reflects an increase to
approximately 630 Settlement Class and Collective Members. Cottrell Decl., ¶ 48. Assuming this
is correct, the average recovery for each Technician is approximately $1,770. Id. Class Counsel
are conferring with Defendant’s Counsel on this issue and will provide further information in their
final approval papers.
                                                12
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 17 of 26




but rather a wage and hour collective and class settlement where the requested fee is easily justified

by the large amount of attorney time and effort involved in prosecuting the action on behalf of the

workers. In this circumstance, an upward departure from the customary 20 to 30 percent range is

appropriate.

                       2.      No Class Members have objected.

       To date, Class Counsel have not received any objections to the Settlement or the requested

fee and cost award. Cottrell Decl., ¶ 54. Indeed, no Class Members have opted out of the

Settlement. Id. The Notice of Settlement clearly sets forth the amount of fees and costs that Class

Counsel are requesting, that Class Counsel will file the instant motion to make such request of the

Court, and the Court will determine the fee and cost award at the Final Approval Hearing. See ECF

137-1, § 10. Despite this full disclosure, no Technicians have voiced any objection to the requested

fee. Cottrell Decl., ¶ 54. This reflects a thoroughly positive response by the Technicians, and

weighs in favor of a one-third fee award.6

                       3.      The action was prosecuted by skilled, experienced, efficient
                               counsel.

       Plaintiffs and the Technicians are represented by highly skilled and experienced counsel.

See Cottrell Decl., ¶¶ 8-10; Piazza Decl., ¶¶ 2-5. Class Counsel are adept class action litigators,

with decades of experience representing workers in wage and hour actions and dozens of

successful results in such cases. Id. Class Counsel’s skill is confirmed by their diligent prosecution

of the claims at issue, which extend across multiple bodies of substantive law, through three years

of difficult litigation. This skill and expertise are illustrated by Class Counsel’s successful motion




6
  The opt out and objection deadline is August 10, 2021. See Preliminary Approval Order (ECF
No. 137), p. 11. With their final approval papers, Class Counsel will provide updated information
regarding any opt outs and objections following the close of the opt out and objection period.
                                                 13
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 18 of 26




practice—Plaintiffs prevailed on the motion for conditional certification, obtained a favorable

Magistrate ruling denying Defendant’s motion to amend its answer, and successfully obtained

preliminary approval of the Settlement. See ECF Nos. 59, 105, 137. Each of these motions required

significant briefing and oral argument. See Section II, supra.

       Class Counsel’s skill and experience led to an efficient result—an excellent settlement that

was achieved without the need to further litigate certification issues and engage in a protracted

trial. Class Counsel’s skillful and efficient prosecution of the claims of the Technicians weighs

significantly in favor of the requested fee award.

                       4.      The action is complex and extended through several years of
                               litigation, with significant risk of non-payment.

       This action involves a conditionally certified FLSA Collective, four putative Rule 23

classes, and four Named Plaintiffs. It encompasses hundreds of workers. Plaintiffs bring claims

under federal law, and additionally under Massachusetts, Maine, New Hampshire, and

Pennsylvania law. The operative FAC is a lengthy and complex pleading. See ECF No. 91.

Discovery requests were served by Defendant for dozens of opt-in Plaintiffs, in addition to each

of the four Named Plaintiffs. Cottrell Decl., ¶¶ 36-37. The action involved considerable motion

practice. All of these factors illustrate that this is a complex matter, even in comparison to other

wage and hour collective and class actions.

       The litigation was also lengthy. Plaintiffs filed this action on July 18, 2018, virtually three

years to the date of this motion. The Court recognized that Class Counsel prosecuted the claims

through a significant duration: “The parties reached this settlement through mediation and arms-

length negotiation after two years of difficult litigation, including discovery, and while facing the

proposed of lengthy additional litigation of settlement had not been reached.” Preliminary

Approval Order (ECF No. 137), p. 8.

                                                 14
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 19 of 26




        Moreover, Class Counsel undertook all the risk of this litigation on a completely contingent

fee basis, expending time and incurring expenses with the understanding that there was no

guarantee of compensation or reimbursement. Cottrell Decl., ¶ 53; Piazza Decl., ¶ 12. The Court

recognized a significant risk that Plaintiffs would not be successful, noting “the risk that the class

might have received no recovery if this case proceeded to trial….” Preliminary Approval Order

(ECF No. 137), p. 9. If they were unsuccessful in obtaining a positive result, Class Counsel would

not receive any compensation for their large investment of time and resources in prosecuting the

claims. The successful result obtained after multiple years of complex litigation, in the face of

considerable risk of non-payment, further counsels in favor of a one-third fee award.

                        5.      Class Counsel have devoted thousands of hours to this case.

        As set forth in Section II, supra, and the attached declarations of Class Counsel, this action

required large amounts of attorney time beginning at the pleadings stage, through conditional

certification, extensive discovery practice, mediation, and additional motion practice, and

continuing through settlement, preliminary approval, overseeing the settlement notice process, and

final approval. By any measure, this is not an action that settled quickly in the early stages of the

case. Rather, it has been intensively litigated, requiring the commitment of thousands of attorney

hours. This extensive time commitment weighs heavily in favor of the requested fee award.

                        6.      Courts routinely award one-third fee awards in wage and hour
                                class action settlements.

        As discussed above, courts in this Circuit and elsewhere routinely approve one-third fee

awards in successful wage and hour settlements. See, e.g., Roberts, 2016 U.S. Dist. LEXIS 136987,

at *45 (one-third fee, reflecting a lodestar multiplier of nearly 2, reasonable in light of the counsel’s

efforts in wage and hour collective and class action); O'Connor, 2018 U.S. Dist. LEXIS 102244,

at *10 (“A one-third contingent fee is common in wage-and-hour cases.”); Curtis, 2016 U.S. Dist.

                                                   15
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 20 of 26




LEXIS 70410, at *10-11 (same); Scovil v. FedEx Ground Package Sys., No. 1:10-CV-515-DBH,

2014 U.S. Dist. LEXIS 33361, at *21 (D. Me. Mar. 14, 2014) (taking judicial notice that contingent

fees of one-third are common in wage and hour class action settlements). “‘Empirical studies show

that, regardless whether the percentage method or the lodestar method is used, fee awards in class

actions average around one-third of the recovery.’” Romero v. Producers Dairy Foods, Inc., No.

1:05cv0484 DLB, 2007 U.S. Dist. LEXIS 86270, at *10 (E.D. Cal. Nov. 13, 2007) (awarding one-

third fee award in wage and hour class action, and quoting 4 Newberg and Conte, Newberg on

Class Actions § 14.6 (4th ed. 2007)).7

       In Soto, et al. v. O.C. Communications, Inc., et al., Case No. 3:17-cv-00251-VC, ECF 304,

305 (N.D. Cal. Oct. 23, 2019), the Northern District of California recently awarded BM and SWCK

one-third fee awards in hybrid FLSA/Rule 23 wage and hour class and collective actions. In Soto,

District Judge Vince Chhabria noted that the one-third award was “justified under the common

fund doctrine, the range of awards ordered in this District and Circuit, the excellent results

obtained, the substantial risk borne by Class Counsel in litigating this matter, the high degree of

skill and quality of work performed, the financial burden imposed by the contingency basis of

Class Counsel’s representation of Plaintiffs and the Classes and Collective, and the additional work

required of Class Counsel to bring this Settlement to conclusion.” Id. (ECF No. 305).

       These cases confirm that in wage and hour class action settlements, which typically do not




7
 See also In re Loestrin 24 Fe Antitrust Litig., No. MDL No. 2472, 2020 U.S. Dist. LEXIS 125746,
at *50 (D.R.I. July 17, 2020) (one-third fee award in antitrust action is “fair, reasonable and
appropriate compensation”); Bennett v. Roark Capital Grp., Inc., No. 2:09-cv-00421-GZS, 2011
U.S. Dist. LEXIS 48094, at *6 (D. Me. May 4, 2011) (awarding “customary one-third fee” in
settled WARN Act class action); Kondash v. Citizens Bank, No. 18-cv-00288-WES-LDA, 2020
U.S. Dist. LEXIS 241588, at *18 (D.R.I. Dec. 23, 2020) (one-third fee award in TCPA action,
amounting to $612,5000, is “fair, reasonable and appropriate compensation for the work done by
Class Counsel to create the Settlement Fund”).
                                                16
         Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 21 of 26




involve megafund amounts that result in large multipliers over lodestar, a fee award of one-third

is standard and appropriate. Class Counsel here have achieved a robust settlement in a difficult

wage and hour action, and the requested one-third fee is reasonable and should be approved by the

Court.

                        7.     Public policy supports the requested fee award.

         Substantial fee awards encourage attorneys to take on risky cases on behalf of clients who

cannot pay hourly rates and would therefore not otherwise have realistic access to courts. That

access is particularly important for the effective enforcement of public protection statutes, such as

the wage laws at issue here. See Reiter v. Sonotone Corp., 442 U.S. 330, 344 (1979) (“private suits

provide a significant supplement to the limited resources available to [government enforcement

agencies] for enforcing [public protection] laws and deterring violations.”). By incentivizing

plaintiff’s attorneys to take on risky, high-stakes, and important litigation, and devote themselves

to it aggressively and fully, fee awards serve an important purpose and extend the access of top

legal talent to constituencies such as low-wage workers who would otherwise never be able to

confront employers, who are themselves represented by top-rated attorneys.

         In this case, although the risks were front and center, Class Representatives and Class

Counsel committed themselves to developing and pressing the legal claims to enforce the

employees’ rights and maximize the class and collective recovery. Accordingly, a one-third

recovery for fees is appropriate.

                C.      A Lodestar Cross-Check Confirms that a One-Third Fee Is Reasonable

         First Circuit courts have the discretion to employ (or decline to employ) a “lodestar cross-

check” on a request for a percentage of the fund fee award. Though not required, this Court has

found that such a cross-check is “useful” in evaluating the reasonableness of a POF fee award.



                                                 17
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 22 of 26




Ark. Teacher Ret. Sys., 2020 U.S. Dist. LEXIS 33552, at *47-48.8 Class Counsel’s accompanying

declarations provides a summary of the lodestar, time and hourly rates, as well as descriptions of

the nature of work performed.9 See Cottrell Decl., ¶¶ 55-69; Piazza Decl., ¶¶ 14-28. The hourly

rates supplied are Class Counsel’s customary rates for purposes of lodestar cross-checks in

common fund cases. Cottrell Decl., ¶ 59; Piazza Decl., ¶ 16.

       The cross-check more than supports the requested fees. Class Counsel has spent over 3,100

hours litigating this action, for a current aggregate lodestar of over $1,749,000, not including all

the work remaining to bring the Settlement to a close.10 Cottrell Decl., ¶¶ 11, 55, 57; Piazza Decl.,

¶¶ 14-16. This amount far exceeds the requested fee, resulting in a 0.353 negative multiplier.

Cottrell Decl., ¶ 56. The lodestar confirms that the one-third fee award is very reasonable. See,

e.g., Zamora v. Lyft, Inc., No. 3:16-cv-02558-VC, 2018 U.S. Dist. LEXIS 166618, at *11 (N.D.

Cal. Sep. 26, 2018) (finding that “lodestar multiplier of 0.86x strongly supports the 33 1/3% fee

award”).

               D.      Class Counsel’s Costs Should Be Approved

       Rule 23(h) provides that a court may award reasonable attorney costs, and the FLSA and

state wage and hour laws also provide for the reimbursement of costs. See, e.g., 29 U.S.C. § 216(b);

Mass. Ann. Laws ch. 149, § 150. First Circuit courts routinely order reimbursement of out-of-

pocket costs in the context of class action settlements. See, e.g., O'Connor, 2018 U.S. Dist. LEXIS



8
  See also Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1050, n.5 (9th Cir. 2002) (noting that while
“primary basis of the fee award remains the percentage method,” lodestar “may” be useful, but
that it is “merely a cross check” and “it is widely recognized that the lodestar method creates
incentives for counsel to expend more hours than may be necessary on litigating a case”).
9
  Due to the amount of privileged information contained in the actual hourly billing records, Class
Counsel do not include those detailed records with this filing but can easily provide them for this
Court’s in camera review should the Court wish to review them.
10
   Class Counsel also provide prior approvals of the rates used here for the lodestar cross-check in
the Cottrell Decl. at ¶¶ 59-60 and the Piazza Decl. at ¶ 16.
                                                 18
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 23 of 26




102244, at *10 (ordering $50,000 for reimbursement of attorneys’ costs in settled wage and hour

action); Veilleux v. Maine, No. 1:16-cv-571-LEW, 2020 U.S. Dist. LEXIS 210895, at *7 (D. Me.

Nov. 9, 2020); Bacchi, 2017 U.S. Dist. LEXIS 184926, at *17 (ordering reimbursement of

litigation expenses of $1,533,575.85 on the basis that the court “cannot say that such expenses,

either in whole or in any particular part, are unreasonable”).

       Here, Class Counsel may seek up to $50,000 in out-of-pocket costs. See Settlement (ECF

No. 121-1), ¶ 2.1. Class Counsel’s costs to date are less than the $50,000 maximum, and currently

stand at $44,191.25 in total for BM and SWCK. See Cottrell Decl., ¶¶ 73-76; Piazza Decl., ¶¶ 32-

33; Schalman-Bergen Decl., ¶¶ 22-24. The expenses incurred in this litigation to date are described

in the accompanying declarations. See id. These expenses are of the type typically billed by

attorneys to paying clients in the marketplace and include such costs as FLSA notice

administration costs, attorney travel, mediation fees, copying and printing costs, and computerized

research. Such costs are routinely found to be reasonable and awarded reimbursement by federal

courts. See, e.g., In re Omnivision Techs., 559 F. Supp. 2d 1036, 1048 (N.D. Cal. 2007) (holding

that attorneys “may recover their reasonable expenses that would typically be billed to paying

clients in non-contingency matters” and awarding reimbursement for expenses for “photocopying,

printing, postage and messenger services, court costs, legal research on Lexis and Westlaw, experts

and consultants, and the costs of travel for various attorneys and their staff throughout the case”).

       All of these expenses were reasonable and necessary for the successful prosecution of the

action, and pursuant to the terms of the Settlement, Defendant does not object to the request for

costs up to $50,000. Further, no Class Member has objected to the request for costs. Cottrell Decl.,

¶ 75. Class Counsel therefore requests reimbursement of costs in the amount of $44,191.25.




                                                 19
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 24 of 26




            IV.           CONCLUSION

        The Named Plaintiffs and Class Counsel have expended considerable time and effort

through several years of intensive litigation. Class Counsel have litigated the case with great skill

and brought considerable expertise to the prosecution of the Technicians’ claims. The excellent

Settlement is a result of this hard work. The requested fees and costs are quite reasonable in light

of these significant efforts, and Plaintiffs respectfully submit that the Court should grant this

motion in its entirety.

Dated: July 16, 2021                          /s/ Carolyn H. Cottrell
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                                                 20
Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 25 of 26




                             Attorneys for Plaintiffs, the Collective and
                             Settlement Classes




                               21
       Case 1:18-cv-11499-MLW Document 145 Filed 08/18/21 Page 26 of 26




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 16, 2021, a copy of this document was served by

electronic filing on all counsel of record.

                                              /s/ Carolyn H. Cottrell
                                              Carolyn H. Cottrell




                                                22
